
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
IT IS ORDERED that the Petition for Consent Discipline be accepted and that John Franklin McKay, Louisiana Bar Roll number 9361, be publicly reprimanded.
IT IS FURTHER ORDERED that respondent shall enroll in and attend one full day of Ethics School offered by the Louisiana State Bar Association’s Practice Assistance and Improvement Committee.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
